
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 27th day of December 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of March 2008."
"The plaintiffs Petition for Discretionary Review is allowed for the limited purpose of remanding this case to the Court of Appeals for reconsideration of its decision in light of Brendlin v. California, ___ U.S. ___, 127 S.Ct. 2400, 168 L.Ed.2d 132 (2007). By Order of the Court in Conference, this 6th day of March, 2008."
